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                                                              COMPLAINT EXHIBIT 12
                                                            U.S. Patent No. 8,050,321 (H.265)

        As demonstrated in the chart below, ASUS directly and indirectly infringes at least claim 8 of U.S. Patent No. 8,050,321 (the
“’321 Patent”). ASUS directly infringes, contributes to the infringement of, and/or induces infringement of the ’321 Patent by making,
using, selling, offering for sale, and/or importing into the United States the Accused Products that are covered by one or more claims of
the ’321 Patent. The Accused Products are devices that decode H.265-compliant video. For example, ASUS Q543MV Notebook
(“ASUS Q543MV”) is a representative product for other ASUS devices that decode H.265-compliant video.

       The ASUS Q543MV contains at least one video decoder that helps decode H.265-compliant video. 1 While evidence from the
ASUS Q543MV is specifically charted herein, the evidence and contentions charted herein apply equally to the other ASUS Accused
Products that decode H.265-compliant video.

      No part of this exemplary chart construes, or is intended to construe, the specification, file history, or claims of the ’321 Patent.
Moreover, this exemplary chart does not limit, and is not intended to limit, Nokia’s infringement positions or contentions.

        The following infringement chart includes exemplary citations to ITU-T Rec. H.265 (12/2016) High efficiency video coding
(available at https://www.itu.int/rec/T-REC-H.265-201612-S/en) (the “H.265 Standard”). The cited functionality has been included in
editions of the H.265 Standard since April 2013 and remains in current editions of the H.265 Standard. Any ASUS device that includes
a decoder that practices the functionality in any of these editions of the H.265 Standard (“H.265 Decoder”) practices the decoding claims
of the ’321 Patent. Thus, the ASUS Accused Products each practice the H.265 Standard and are covered by claims of the ’321 Patent.

       Nokia contends each of the following limitations is met literally, and, to the extent a limitation is not met literally, it is met under
the doctrine of equivalents. 2




1
 See, e.g., https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/;
https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-24m-cache-up-to-5-10-ghz/specifications.html;
https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new.
2
 This claim chart is based on the information currently available to Nokia and is intended to be exemplary in nature. Nokia reserves all rights to update and
elaborate its infringement positions, including as Nokia obtains additional information during the course of discovery.

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                                                                                                             U.S. Patent No. 8,050,321
 U.S. Patent No. 8,050,321                                          ASUS Accused Products
 8. [A] A method for           Each of the Accused Products, such as the ASUS Q543MV, performs a method for decoding a
 decoding a compressed         compressed video sequence.
 video sequence,
                               For example, and without limitation, the Asus Q543MV uses hardware-accelerated decoding and
                               includes an NVIDIA GeForce RTX 4060 Laptop graphics processing unit (“GPU”) and an Intel Core
                               Ultra 9 Processor 185H.




                               Source: https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-
                               q543/techspec/ (last accessed March 6, 2025).




                               Source: https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-
                               185h-24m-cache-up-to-5-10-ghz/specifications.html (last accessed March 6, 2025)(specifications for Intel
                               Core Ultra 9 185H).


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                                                                                                           U.S. Patent No. 8,050,321




                               Source: https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new (last accessed
                               March 6, 2025)(row for 4060 Laptop GPU).

                               For example, an ASUS Q543MV was used to play back an H.265-compliant video.




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                                                                                                           U.S. Patent No. 8,050,321




                               Source: Screenshot of ASUS Q543MV playing back an H.265-compliant video.

                               For example and without limitation, the H.265 Standard specifies the following regarding the
                               decoding process. The following specifications provide further evidence of how each of the Accused
                               Products operates:

                                    3 Definitions
                                    ...
                                    3.30 coded video sequence (CVS): A sequence of access units that consists, in decoding order,
                                    of an IRAP access unit with NoRaslOutputFlag equal to 1, followed by zero or more access
                                    units that are not IRAP access units with NoRaslOutputFlag equal to 1, including all subsequent
                                    access units up to but not including any subsequent access unit that is an IRAP access unit with
                                    NoRaslOutputFlag equal to 1.


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                                                                                                              U.S. Patent No. 8,050,321
                                           NOTE – An IRAP access unit may be an IDR access unit, a BLA access unit, or a CRA
                                           access unit. The value of NoRaslOutputFlag is equal to 1 for each IDR access unit, each
                                           BLA access unit, and each CRA access unit that is the first access unit in the bitstream in
                                           decoding order, is the first access unit that follows an end of sequence NAL unit in
                                           decoding order, or has HandleCraAsBlaFlag equal to 1.
                                     ...
                                     3.39 decoded picture: A decoded picture is derived by decoding a coded picture.
                                     ...
                                     3.41 decoder: An embodiment of a decoding process.
                                     ...
                                     3.43 decoding order: The order in which syntax elements are processed by the decoding
                                     process.
                                     3.44 decoding process: The process specified in this Specification that reads a bitstream and
                                     derives decoded pictures from it.

                                (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 4 – 7).

 [B] the method                 Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
 comprising: decoding from      compressed video sequence, the method comprising: decoding from the video sequence an indication
 the video sequence an          of at least one image frame, which is the first image frame, in decoding order, of an independent
 indication of at least one     sequence, wherein all motion-compensated temporal prediction references of the independent sequence
 image frame, which is the      refer only to image frames within said independent sequence.
 first image frame, in
 decoding order, of an          For example and without limitation, the H.265 Standard specifies decoding from the video sequence an
 independent sequence,          indication of at least one image frame, which is the first image frame, in decoding order, of an
 wherein all motion-            independent sequence, wherein all motion-compensated temporal prediction references of the
 compensated temporal           independent sequence refer only to image frames within said independent sequence.
 prediction references of the
 independent sequence refer     For example, according to the H.265 Standard, each of the Accused Products receives a bitstream
 only to image frames           comprising one or more coded video sequences (CVSs) which are made up of access units, where each
 within said independent        access unit comprises exactly one coded picture. For example, each of the Accused Products may
 sequence;                      receive CVSs, each starting with an independently decodable intra random access point (IRAP) picture
                                which may be decoded without prediction from any other picture of the sequence. For example, one
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                                                                                                           U.S. Patent No. 8,050,321
                               example of an IRAP picture is an instantaneous decoding refresh (IDR) picture which has network
                               abstraction layer (NAL) unit type equal to IDR_W_RADL or IDR_N_LP. For example, each of the
                               Accused Products may receive an IDR picture, which is the first picture of a CVS in decoding order.
                               Each of the Accused Products may receive a CVS in which an IRAP picture is followed in decoding
                               order by zero or more non-IRAP pictures.

                               Each of the Accused Products may decode an indication of presence of an IDR picture, for example, by
                               decoding a nal_unit_type value of 19 or 20 in the NAL Unit syntax.

                               The following specifications provide further evidence of how each of the Accused Products operates:

                                    3 Definitions
                                    For the purposes of this Recommendation | International Standard, the following definitions
                                    apply:
                                    3.1 access unit: A set of NAL units that are associated with each other according to a specified
                                    classification rule, are consecutive in decoding order, and contain exactly one coded picture
                                    with nuh_layer_id equal to 0.
                                          NOTE 1 – In addition to containing the video coding layer (VCL) NAL units of the coded
                                          picture with nuh_layer_id equal to 0, an access unit may also contain non-VCL NAL
                                          units. The decoding of an access unit with the decoding process specified in clause 8
                                          always results in a decoded picture with nuh_layer_id equal to 0.
                                          NOTE 2 – An access unit is defined differently in Annex F and does not need to contain a
                                          coded picture with nuh_layer_id equal to 0.
                                    ...
                                    3.25 coded picture: A coded representation of a picture containing all coding tree units of the
                                    picture.
                                    ...
                                    3.30 coded video sequence (CVS): A sequence of access units that consists, in decoding order,
                                    of an IRAP access unit with NoRaslOutputFlag equal to 1, followed by zero or more access
                                    units that are not IRAP access units with NoRaslOutputFlag equal to 1, including all subsequent
                                    access units up to but not including any subsequent access unit that is an IRAP access unit with
                                    NoRaslOutputFlag equal to 1.
                                           NOTE – An IRAP access unit may be an IDR access unit, a BLA access unit, or a CRA
                                           access unit. The value of NoRaslOutputFlag is equal to 1 for each IDR access unit, each
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                                                                                                             U.S. Patent No. 8,050,321
                                         BLA access unit, and each CRA access unit that is the first access unit in the bitstream in
                                         decoding order, is the first access unit that follows an end of sequence NAL unit in
                                         decoding order, or has HandleCraAsBlaFlag equal to 1.
                                   ...
                                   3.39 decoded picture: A decoded picture is derived by decoding a coded picture.
                                   ...
                                   3.43 decoding order: The order in which syntax elements are processed by the decoding
                                   process.
                                   3.44 decoding process: The process specified in this Specification that reads a bitstream and
                                   derives decoded pictures from it.
                                   ...
                                   3.61 instantaneous decoding refresh (IDR) access unit: An access unit in which the coded
                                   picture with nuh_layer_id equal to 0 is an IDR picture.
                                   3.62 instantaneous decoding refresh (IDR) picture: An IRAP picture for which each VCL
                                   NAL unit has nal_unit_type equal to IDR_W_RADL or IDR_N_LP.
                                         NOTE – An IDR picture does not refer to any pictures other than itself for inter prediction
                                         in its decoding process, and may be the first picture in the bitstream in decoding order, or
                                         may appear later in the bitstream. Each IDR picture is the first picture of a CVS in
                                         decoding order. When an IDR picture for which each VCL NAL unit has nal_unit_type
                                         equal to IDR_W_RADL, it may have associated RADL pictures. When an IDR picture for
                                         which each VCL NAL unit has nal_unit_type equal to IDR_N_LP, it does not have any
                                         associated leading pictures. An IDR picture does not have associated RASL pictures.

                                   3.63 inter coding: Coding of a coding block, slice, or picture that uses inter prediction.
                                   3.64 inter prediction: A prediction derived in a manner that is dependent on data elements
                                   (e.g., sample values or motion vectors) of one or more reference pictures.
                                          NOTE – A prediction from a reference picture that is the current picture itself is also inter
                                          prediction.
                                   ...
                                   3.67 intra random access point (IRAP) access unit: An access unit in which the coded picture
                                   with nuh_layer_id equal to 0 is an IRAP picture.


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                                                                                                             U.S. Patent No. 8,050,321
                                    3.68 intra random access point (IRAP) picture: A coded picture for which each VCL NAL
                                    unit has nal_unit_type in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive.
                                          NOTE – An IRAP picture does not refer to any pictures other than itself for inter
                                          prediction in its decoding process, and may be a BLA picture, a CRA picture or an IDR
                                          picture. The first picture in the bitstream in decoding order must be an IRAP picture.
                                          Provided the necessary parameter sets are available when they need to be activated, the
                                          IRAP picture and all subsequent non-RASL pictures in decoding order can be correctly
                                          decoded without performing the decoding process of any pictures that precede the IRAP
                                          picture in decoding order. There may be pictures in a bitstream that do not refer to any
                                          pictures other than itself for inter prediction in its decoding process that are not IRAP
                                          pictures.
                                    ...
                                    3.85 network abstraction layer (NAL) unit: A syntax structure containing an indication of the
                                    type of data to follow and bytes containing that data in the form of an RBSP interspersed as
                                    necessary with emulation prevention bytes.
                                    ...
                                    3.122 reference picture: A picture that is a short-term reference picture or a long-term
                                    reference picture.
                                          NOTE – A reference picture contains samples that may be used for inter prediction in the
                                          decoding process of subsequent pictures in decoding order.
                                    ...
                                    3.172 video coding layer (VCL) NAL unit: A collective term for coded slice segment NAL
                                    units and the subset of NAL units that have reserved values of nal_unit_type that are classified
                                    as VCL NAL units in this Specification.
                                    ...
                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 4, 6 – 10, 13).

                                    7.3.1.2 NAL unit header syntax




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                                                                                                               U.S. Patent No. 8,050,321




                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at p. 32).

                                     7.4.2.2 NAL unit header semantics
                                     ...
                                     nal_unit_type specifies the type of RBSP data structure contained in the NAL unit as specified
                                     in Table 7-1.
                                     ...
                                                      Table 7-1 – NAL unit type codes and NAL unit type classes


                                                                                     ...


                                                                                     ...
                                     ...
                                     NOTE 5 – An instantaneous decoding refresh (IDR) picture having nal_unit_type equal to
                                     IDR_N_LP does not have associated leading pictures present in the bitstream. An IDR picture
                                     having nal_unit_type equal to IDR_W_RADL does not have associated RASL pictures present
                                     in the bitstream, but may have associated RADL pictures in the bitstream.

                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 65 – 67).

                               Further, the evidence cited for claim limitation 8[A] applies to this claim limitation.

 [C] starting the decoding     Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
 of the video sequence from    compressed video sequence, the method comprising: starting the decoding of the video sequence from
 said first image frame of
                                                                  -9-
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                                                                                                              U.S. Patent No. 8,050,321
 the independent sequence,     said first image frame of the independent sequence, whereby the video sequence is decoded without
 whereby the video             prediction from any image frame decoded prior to said first image frame.
 sequence is decoded
 without prediction from       For example and without limitation, the H.265 Standard specifies starting the decoding of the video
 any image frame decoded       sequence from said first image frame of the independent sequence, whereby the video sequence is
 prior to said first image     decoded without prediction from any image frame decoded prior to said first image frame.
 frame;
                               For example, each of the Accused Products starts decoding of each CVS with an IRAP picture (for
                               example an IDR picture) that does not refer to any pictures other than itself for inter prediction in its
                               decoding process. The CVS is decoded without prediction from any image frame decoded prior to the
                               first image frame.

                               The following specifications provide further evidence of how each of the Accused Products operates:

                                     3 Definitions
                                     ...
                                     3.30 coded video sequence (CVS): A sequence of access units that consists, in decoding order,
                                     of an IRAP access unit with NoRaslOutputFlag equal to 1, followed by zero or more access
                                     units that are not IRAP access units with NoRaslOutputFlag equal to 1, including all subsequent
                                     access units up to but not including any subsequent access unit that is an IRAP access unit with
                                     NoRaslOutputFlag equal to 1.
                                            NOTE – An IRAP access unit may be an IDR access unit, a BLA access unit, or a CRA
                                            access unit. The value of NoRaslOutputFlag is equal to 1 for each IDR access unit, each
                                            BLA access unit, and each CRA access unit that is the first access unit in the bitstream in
                                            decoding order, is the first access unit that follows an end of sequence NAL unit in
                                            decoding order, or has HandleCraAsBlaFlag equal to 1.
                                     ...
                                     3.61 instantaneous decoding refresh (IDR) access unit: An access unit in which the coded
                                     picture with nuh_layer_id equal to 0 is an IDR picture.
                                     ...
                                     3.62 instantaneous decoding refresh (IDR) picture: An IRAP picture for which each VCL
                                     NAL unit has nal_unit_type equal to IDR_W_RADL or IDR_N_LP.
                                           NOTE – An IDR picture does not refer to any pictures other than itself for inter prediction
                                           in its decoding process, and may be the first picture in the bitstream in decoding order, or
                                                                 - 10 -
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                                                                                                               U.S. Patent No. 8,050,321
                                           may appear later in the bitstream. Each IDR picture is the first picture of a CVS in
                                           decoding order. When an IDR picture for which each VCL NAL unit has nal_unit_type
                                           equal to IDR_W_RADL, it may have associated RADL pictures. When an IDR picture for
                                           which each VCL NAL unit has nal_unit_type equal to IDR_N_LP, it does not have any
                                           associated leading pictures. An IDR picture does not have associated RASL pictures.
                                     ...
                                     3.68 intra random access point (IRAP) picture: A coded picture for which each VCL NAL
                                     unit has nal_unit_type in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive.
                                           NOTE – An IRAP picture does not refer to any pictures other than itself for inter
                                           prediction in its decoding process, and may be a BLA picture, a CRA picture or an IDR
                                           picture. The first picture in the bitstream in decoding order must be an IRAP picture.
                                           Provided the necessary parameter sets are available when they need to be activated, the
                                           IRAP picture and all subsequent non-RASL pictures in decoding order can be correctly
                                           decoded without performing the decoding process of any pictures that precede the IRAP
                                           picture in decoding order. There may be pictures in a bitstream that do not refer to any
                                           pictures other than itself for inter prediction in its decoding process that are not IRAP
                                           pictures.
                                     ...

                                     3.116 random access skipped leading (RASL) picture: A coded picture for which each VCL
                                     NAL unit has nal_unit_type equal to RASL_R or RASL_N.
                                          NOTE – All RASL pictures are leading pictures of an associated BLA or CRA picture.
                                          When the associated IRAP picture has NoRaslOutputFlag equal to 1, the RASL picture is
                                          not output and may not be correctly decodable, as the RASL picture may contain
                                          references to pictures that are not present in the bitstream. RASL pictures are not used as
                                          reference pictures for the decoding process of non-RASL pictures. When present, all
                                          RASL pictures precede, in decoding order, all trailing pictures of the same associated
                                          IRAP picture.

                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 6 – 8, 10).

                               Further, the evidence cited for claim limitations 8[A-B] applies to this claim limitation.



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                                                                                                               U.S. Patent No. 8,050,321
 [D] decoding identifier       Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
 values for image frames       compressed video sequence, the method comprising: decoding identifier values for image frames
 according to a numbering      according to a numbering scheme.
 scheme; and
                               For example and without limitation, the H.265 Standard specifies decoding identifier values for image
                               frames according to a numbering scheme.

                               For example, each of the Accused Products decodes from the bitstream a variable defined as picture
                               order count (POC) that is associated with each picture and uniquely identifies the associated picture
                               among all pictures in a CVS. For example, each of the Accused Products derives a POC value, which
                               indicates to each of the Accused Products the position of the associated picture in output order relative
                               to the output order positions of the other pictures in the same CVS that are to be output from the decoded
                               picture buffer (DPB).

                               The following specifications provide further evidence of how each of the Accused Products operates:

                                     3 Definitions
                                     For the purposes of this Recommendation | International Standard, the following definitions
                                     apply:
                                     ...
                                     3.25 coded picture: A coded representation of a picture containing all coding tree units of the
                                     picture.
                                     ...
                                     3.30 coded video sequence (CVS): A sequence of access units that consists, in decoding order,
                                     of an IRAP access unit with NoRaslOutputFlag equal to 1, followed by zero or more access
                                     units that are not IRAP access units with NoRaslOutputFlag equal to 1, including all subsequent
                                     access units up to but not including any subsequent access unit that is an IRAP access unit with
                                     NoRaslOutputFlag equal to 1.
                                            NOTE – An IRAP access unit may be an IDR access unit, a BLA access unit, or a CRA
                                            access unit. The value of NoRaslOutputFlag is equal to 1 for each IDR access unit, each
                                            BLA access unit, and each CRA access unit that is the first access unit in the bitstream in
                                            decoding order, is the first access unit that follows an end of sequence NAL unit in
                                            decoding order, or has HandleCraAsBlaFlag equal to 1.
                                     ...
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                                                                                                              U.S. Patent No. 8,050,321
                                    3.40 decoded picture buffer (DPB): A buffer holding decoded pictures for reference, output
                                    reordering, or output delay specified for the hypothetical reference decoder in Annex C.
                                    ...
                                    3.96 picture: An array of luma samples in monochrome format or an array of luma samples and
                                    two corresponding arrays of chroma samples in 4:2:0, 4:2:2, and 4:4:4 colour format.
                                          NOTE – A picture may be either a frame or a field. However, in one CVS, either all
                                          pictures are frames or all pictures are fields.
                                    ...
                                    3.98 picture order count (POC): A variable that is associated with each picture, uniquely
                                    identifies the associated picture among all pictures in the CVS, and, when the associated picture
                                    is to be output from the decoded picture buffer, indicates the position of the associated picture in
                                    output order relative to the output order positions of the other pictures in the same CVS that are
                                    to be output from the decoded picture buffer.
                                    ...
                                    3.136 slice: An integer number of coding tree units contained in one independent slice segment
                                    and all subsequent dependent slice segments (if any) that precede the next independent slice
                                    segment (if any) within the same access unit.
                                    3.137 slice header: The slice segment header of the independent slice segment that is a current
                                    slice segment or the most recent independent slice segment that precedes a current dependent
                                    slice segment in decoding order.
                                    3.138 slice segment: An integer number of coding tree units ordered consecutively in the tile
                                    scan and contained in a single NAL unit.
                                    3.139 slice segment header: A part of a coded slice segment containing the data elements
                                    pertaining to the first or all coding tree units represented in the slice segment.
                                    ...
                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 6, 9, 11).

                                    7.3.6 Slice segment header syntax
                                    7.3.6.1 General slice segment header syntax




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                                                                                                            U.S. Patent No. 8,050,321




                                    ...
                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at p. 44).

                                    7.4.7 Slice segment header semantics
                                    7.4.7.1 General slice segment header semantics
                                    When present, the value of the slice segment header syntax elements
                                    slice_pic_parameter_set_id, pic_output_flag, no_output_of_prior_pics_flag,
                                    slice_pic_order_cnt_lsb, short_term_ref_pic_set_sps_flag, short_term_ref_pic_set_idx,
                                    num_long_term_sps, num_long_term_pics and slice_temporal_mvp_enabled_flag shall be the
                                    same in all slice segment headers of a coded picture. When present, the value of the slice
                                    segment header syntax elements lt_idx_sps[ i ], poc_lsb_lt[ i ], used_by_curr_pic_lt_flag[ i ],
                                    delta_poc_msb_present_flag[ i ] and delta_poc_msb_cycle_lt[ i ] shall be the same in all slice
                                    segment headers of a coded picture for each possible value of i.
                                    ...
                                    slice_pic_order_cnt_lsb specifies the picture order count modulo MaxPicOrderCntLsb for the
                                    current picture. The length of the slice_pic_order_cnt_lsb syntax element is
                                    log2_max_pic_order_cnt_lsb_minus4 + 4 bits. The value of the slice_pic_order_cnt_lsb shall be
                                    in the range of 0 to MaxPicOrderCntLsb − 1, inclusive. When slice_pic_order_cnt_lsb is not
                                    present, slice_pic_order_cnt_lsb is inferred to be equal to 0, except as specified in clause
                                    8.3.3.1.
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                                                                                                                 U.S. Patent No. 8,050,321

                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 94 – 95).

                                    8.1.3 Decoding process for a coded picture with nuh_layer_id equal to 0
                                    The decoding processes specified in this clause apply to each coded picture with nuh_layer_id
                                    equal to 0, referred to as the current picture and denoted by the variable CurrPic, in
                                    BitstreamToDecode.
                                    ...
                                    The decoding process operates as follows for the current picture CurrPic:
                                         1.   The decoding of NAL units is specified in clause 8.2.
                                         2.    The processes in clause 8.3 specify the following decoding processes using syntax
                                              elements in the slice segment layer and above:
                                              –      Variables and functions relating to picture order count are derived as specified in
                                                    clause 8.3.1. This needs to be invoked only for the first slice segment of a picture.
                                              ...
                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 116 – 117).

                                    8.3 Slice decoding process
                                    8.3.1 Decoding process for picture order count
                                    Output of this process is PicOrderCntVal, the picture order count of the current picture.
                                    Picture order counts are used to identify pictures, for deriving motion parameters in merge mode
                                    and motion vector prediction, and for decoder conformance checking (see clause C.5).
                                    Each coded picture is associated with a picture order count variable, denoted as PicOrderCntVal.
                                    When the current picture is not an IRAP picture with NoRaslOutputFlag equal to 1, the
                                    variables prevPicOrderCntLsb and prevPicOrderCntMsb are derived as follows:
                                    –     Let prevTid0Pic be the previous picture in decoding order that has TemporalId equal to 0
                                         and that is not a RASL, RADL or SLNR picture.
                                    –    The variable prevPicOrderCntLsb is set equal to slice_pic_order_cnt_lsb of prevTid0Pic.
                                    –    The variable prevPicOrderCntMsb is set equal to PicOrderCntMsb of prevTid0Pic.

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                                                                                                                 U.S. Patent No. 8,050,321
                                       The variable PicOrderCntMsb of the current picture is derived as follows:
                                       –    If the current picture is an IRAP picture with NoRaslOutputFlag equal to 1,
                                           PicOrderCntMsb is set equal to 0.
                                       –    Otherwise, PicOrderCntMsb is derived as follows:
                                                if( ( slice_pic_order_cnt_lsb < prevPicOrderCntLsb ) &&
                                                        ( ( prevPicOrderCntLsb − slice_pic_order_cnt_lsb ) >=
                                                        ( MaxPicOrderCntLsb / 2 ) ) )
                                                    PicOrderCntMsb = prevPicOrderCntMsb + MaxPicOrderCntLsb (8-1)
                                                else if( (slice_pic_order_cnt_lsb > prevPicOrderCntLsb ) &&
                                                        ( ( slice_pic_order_cnt_lsb − prevPicOrderCntLsb ) > ( MaxPicOrderCntLsb / 2 )
                                                        ))
                                                    PicOrderCntMsb = prevPicOrderCntMsb − MaxPicOrderCntLsb
                                                else
                                                    PicOrderCntMsb = prevPicOrderCntMsb
                                       PicOrderCntVal is derived as follows:
                                                PicOrderCntVal = PicOrderCntMsb + slice_pic_order_cnt_lsb              (8-2)
                                             NOTE 1 – All IDR pictures will have PicOrderCntVal equal to 0 since
                                             slice_pic_order_cnt_lsb is inferred to be 0 for IDR pictures and prevPicOrderCntLsb and
                                             prevPicOrderCntMsb are both set equal to 0.
                                       The value of PicOrderCntVal shall be in the range of −231 to 231 − 1, inclusive. In one CVS, the
                                       PicOrderCntVal values for any two coded pictures shall not be the same.
                                       ...
                                 (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at p. 118).

                                 Further, the evidence cited for claim limitations 8[A-C] applies to this claim limitation.

 [E] resetting the identifier    Each of the Accused Products, such as the ASUS Q543MV, performs a method of decoding a
 value for the indicated first   compressed video sequence, the method comprising: resetting the identifier value for the indicated first
 image frame of the              image frame of the independent sequence.
 independent sequence.
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                                                                                                              U.S. Patent No. 8,050,321
                               For example and without limitation, The H.265 Standard specifies resetting the identifier value for the
                               indicated first image frame of the independent sequence.

                               For example, the H.265/HEVC Standard specifies that each of the Accused Products derives
                               PicOrderCntVal that indicates the picture order count of the current picture. For example, for the IDR
                               picture in a CVS, each of the Accused Products resets picture order count of the current picture (see for
                               example, PicOrderCntVal) to 0 when an IDR picture is decoded at the beginning of an independent
                               sequence.

                               The following specifications provide further evidence of how each of the Accused Products operates:

                                     3 Definitions
                                     For the purposes of this Recommendation | International Standard, the following definitions
                                     apply:
                                     ...
                                     3.30 coded video sequence (CVS): A sequence of access units that consists, in decoding order,
                                     of an IRAP access unit with NoRaslOutputFlag equal to 1, followed by zero or more access
                                     units that are not IRAP access units with NoRaslOutputFlag equal to 1, including all subsequent
                                     access units up to but not including any subsequent access unit that is an IRAP access unit with
                                     NoRaslOutputFlag equal to 1.
                                            NOTE – An IRAP access unit may be an IDR access unit, a BLA access unit, or a CRA
                                            access unit. The value of NoRaslOutputFlag is equal to 1 for each IDR access unit, each
                                            BLA access unit, and each CRA access unit that is the first access unit in the bitstream in
                                            decoding order, is the first access unit that follows an end of sequence NAL unit in
                                            decoding order, or has HandleCraAsBlaFlag equal to 1.
                                     ...
                                     3.62 instantaneous decoding refresh (IDR) picture: An IRAP picture for which each VCL
                                     NAL unit has nal_unit_type equal to IDR_W_RADL or IDR_N_LP.
                                           NOTE – An IDR picture does not refer to any pictures other than itself for inter prediction
                                           in its decoding process, and may be the first picture in the bitstream in decoding order, or
                                           may appear later in the bitstream. Each IDR picture is the first picture of a CVS in
                                           decoding order. When an IDR picture for which each VCL NAL unit has nal_unit_type
                                           equal to IDR_W_RADL, it may have associated RADL pictures. When an IDR picture for

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                                                                                                             U.S. Patent No. 8,050,321
                                           which each VCL NAL unit has nal_unit_type equal to IDR_N_LP, it does not have any
                                           associated leading pictures. An IDR picture does not have associated RASL pictures.
                                    ...
                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at pp. 4, 6 – 7).

                                    8.3 Slice decoding process
                                    8.3.1 Decoding process for picture order count
                                    Output of this process is PicOrderCntVal, the picture order count of the current picture.
                                    Picture order counts are used to identify pictures, for deriving motion parameters in merge mode
                                    and motion vector prediction, and for decoder conformance checking (see clause C.5).
                                    Each coded picture is associated with a picture order count variable, denoted as PicOrderCntVal.
                                    When the current picture is not an IRAP picture with NoRaslOutputFlag equal to 1, the
                                    variables prevPicOrderCntLsb and prevPicOrderCntMsb are derived as follows:
                                    –      Let prevTid0Pic be the previous picture in decoding order that has TemporalId equal to 0
                                          and that is not a RASL, RADL or SLNR picture.
                                    –     The variable prevPicOrderCntLsb is set equal to slice_pic_order_cnt_lsb of prevTid0Pic.
                                    –     The variable prevPicOrderCntMsb is set equal to PicOrderCntMsb of prevTid0Pic.
                                    The variable PicOrderCntMsb of the current picture is derived as follows:
                                    –      If the current picture is an IRAP picture with NoRaslOutputFlag equal to 1,
                                          PicOrderCntMsb is set equal to 0.
                                    –     Otherwise, PicOrderCntMsb is derived as follows:
                                              if( ( slice_pic_order_cnt_lsb < prevPicOrderCntLsb ) &&
                                                      ( ( prevPicOrderCntLsb − slice_pic_order_cnt_lsb ) >=
                                                      ( MaxPicOrderCntLsb / 2 ) ) )
                                                  PicOrderCntMsb = prevPicOrderCntMsb + MaxPicOrderCntLsb (8-1)
                                              else if( (slice_pic_order_cnt_lsb > prevPicOrderCntLsb ) &&
                                                      ( ( slice_pic_order_cnt_lsb − prevPicOrderCntLsb ) > ( MaxPicOrderCntLsb / 2 )
                                                      ))

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                                                                                                              U.S. Patent No. 8,050,321
                                                 PicOrderCntMsb = prevPicOrderCntMsb − MaxPicOrderCntLsb
                                              else
                                                 PicOrderCntMsb = prevPicOrderCntMsb
                                     PicOrderCntVal is derived as follows:
                                              PicOrderCntVal = PicOrderCntMsb + slice_pic_order_cnt_lsb              (8-2)
                                           NOTE 1 – All IDR pictures will have PicOrderCntVal equal to 0 since
                                           slice_pic_order_cnt_lsb is inferred to be 0 for IDR pictures and prevPicOrderCntLsb and
                                           prevPicOrderCntMsb are both set equal to 0.
                                     The value of PicOrderCntVal shall be in the range of −231 to 231 − 1, inclusive. In one CVS, the
                                     PicOrderCntVal values for any two coded pictures shall not be the same.
                                     ...
                               (ITU-T Rec. H.265 (12/2016) High efficiency video coding, at p. 118).

                               Further, the evidence cited for claim limitations 8[A-D] applies to this claim limitation.




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